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                                                                        FILED: May 3, 2016

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                       ___________________

                                            No. 16-1497
                                       (8:16-cv-00860-DKC)
                                       ___________________

         SCOTTSDALE CAPITAL ADVISORS CORPORATION; JOHN J. HURRY;
         TIMOTHY B. DIBLASI; DARREL MICHAEL CRUZ

                      Plaintiffs - Appellants

         v.

         FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.

                      Defendant - Appellee


        This case has been opened on appeal.

         Originating Court              United States District Court for the District
                                        of Maryland at Greenbelt
         Originating Case Number        8:16-cv-00860-DKC
         Date notice of appeal filed    04/27/2016
         in originating court:
         Appellants                     Scottsdale Capital Advisors Corporation, John J.
                                        Hurry, Timothy B. DiBlasi, and Darrel Michael Cruz

         Appellate Case Number          16-1497
         Case Manager                   Amy L. Carlheim
                                        804-916-2702
